                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                  Plaintiff,                   )
                                               )
        v.                                     )       No. 04-03057-04-CR-SW-FJG
                                               )
BRIAN C. VALENTINE,                            )
                                               )
                   Defendant.                  )


                               FINAL ORDER OF FORFEITURE

        On February 10, 2005, this Court entered a Preliminary Order of Forfeiture, ordering

defendant Brian C. Valentine to forfeit the following property:

        $3,958.00 in United States currency which represents proceeds of illegal narcotics

distribution.

        The United States caused to be published in the Joplin Globe, a daily newspaper of

general circulation, notice of this forfeiture and of the intent of the United States to dispose of

the property in accordance with the law and as specified in the Preliminary Order, and further

notifying all third parties of their right to petition the Court within thirty (30) days for a hearing

to adjudicate the validity of their alleged legal interest in the property; and

        No timely claim has been filed.

        The Court finds that defendant Brian C. Valentine had an interest in the property that is

subject to forfeiture.

        Therefore, it is hereby ORDERED, ADJUDGED AND DECREED:

        That the United States currency in the amount of $3, 958.00 is hereby forfeited to the




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United States of America pursuant to 21 U.S.C. § 853(n).

       IT IS FURTHER ORDERED THAT all right, title and interest to the property

described above is hereby condemned, forfeited and vested in the United States of America, and

shall be disposed of according to law.

       IT IS FURTHER ORDERED THAT the United States District Court shall retain

jurisdiction in the case for the purpose of enforcing this Order.

       IT IS FURTHER ORDERED THAT the Clerk of the Court shall forward three

certified copies of this Order to the United States Attorney’s Office, Attention: Cynthia J. Hyde,

Assistant U.S. Attorney 901 St. Louis, Suite 500, Springfield, MO 65806-2511.

       IT IS SO ORDERED.



                                                      /s/Fernando J. Gaitan, Jr.
                                                      FERNANDO J. GAITAN, JUDGE
                                                      UNITED STATES DISTRICT COURT


Date: __December 22, 2005 _




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